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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT —

for the
Southern District of Texas

 

 

 

United States of America )
Vv. )
)  caseno. AA» [G- (234 ~K4
Abel CHAVERO ) :
YOB: 1971 CITIZENSHIP: United States
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of May 29, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description

21 U.S.C. § 841 -did knowingly and intentionally possess with the intent to distribute
approximately 39.42 kilograms of methamphetamine, a Schedule I! controlled
substance.
-did knowingly and intentionally import with the intent to distribute approximately

21 U.S.C § 952 39.42 kilograms of methamphetamine, a Schedule I] controlled substance.

This criminal complaint is based on these facts:

SEE ATTACHMENT "A"

¥ Continued on the attached sheet.

nb he cE

[/ Complainant's signature

Janet Dougherty, U.S. HSI Special Agent

Printed name and title

a aaa wg ’ 2 3 aA hn Judge’s signature 5 /.

City and state: McAllen, Texas U.S. Magistrate Judge Peter Ormsby

Printed name and title

     
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Attachment “A” ’

On May 29, 2019, Department of Homeland Security (DHS), Homeland Security Investigations
(AST), McAllen, Texas Office received information from Customs and Border Protection (CBP),
Office of Field Operations (OFO) at the Hidalgo, Texas Port of Entry (POE), in reference to the
seizure of approximately 39.42 kg of methamphetamine, which were found in the gas tank of a
vehicle making entry into the United States from Mexico. The driver and sole occupant of the
vehicle was identified as Abel CHAVERO.

CBP Officer C. Villareal stated the vehicle, driven by CHAVERO, arrived at the primary
inspection lane at approximately 6:09 PM. CBP Officer Villareal advised CHAVERO stated the
vehicle belonged to him and he was returning from a ranch located in the outskirts of Reynosa,
MX. CBP Officer Villareal referred the vehicle to the secondary inspection lanes. Once at
secondary inspection, narcotics were located in packages hidden within the gas tank in the
vehicle containing a liquid, field testing positive for characteristics of methamphetamine.

HSI McAllen Special Agent responded to assist in the investigation. During a post Miranda
interview of CHAVERO, CHAVERO stated on the previous day, May 28, 2019, he arrived at a
parking lot of a store in Mission, TX where he met with an individual who gave him the vehicle
in which he crossed through the POE. CHAVERO stated that individual told him he would be
paid $1,000 USD for driving the vehicle from Mexico to the United States. CHAVERO stated
he then drove the vehicle to his home for the night and drove the vehicle on May 29, 2019 to
Reynosa, Mexico. CHAVERO stated while in Reynosa, Mexico he gave the vehicle to two
individuals who drove the vehicle to an unknown location while he walked around the stores.
CHAVERO stated the two individuals returned with the vehicle and he was told to drive the
vehicle to a Wal-Mart located in Palmhurst, TX. CHAVERO stated he believed he was driving
narcotics in the vehicle from Mexico to the Wal-Mart.
